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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IT CASINO SOLUTIONS, LLC,                         Case No. 21-cv-09872-WHO
                                                        Plaintiff,
                                   8
                                                                                           ORDER DENYING ADMINISTRATIVE
                                                 v.                                        MOTION TO EXTEND BRIEFING
                                   9
                                                                                           SCHEDULE
                                  10     TRANSIENT PATH, LLC, et al.,
                                                                                           Re: Dkt. No. 54
                                                        Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13          On June 28, 2022, plaintiff IT Casino Solutions, LLC (“ITCS”) filed an administrative

                                  14   motion seeking to extend the briefing schedule on the pending motion for summary judgment.

                                  15   Dkt. No. 54. ITCS requested that the due date for its opposition, which was set for July 5, 2022,

                                  16   be extended to thirty days after the close of expert discovery—which the parties have proposed

                                  17   will occur on June 2, 2023. See id., see also Dkt. No. 44.

                                  18          Having reviewed the motion, along with defendant Transient Path, LLC’s opposition, the

                                  19   motion is DENIED. If ITCS believes that it cannot present facts essential to justify its opposition

                                  20   to the summary judgment motion, it may oppose under Federal Rule of Civil Procedure 56(d). Its

                                  21   response to the summary judgment motion is due by July 20, 2022. Any reply is due by July 27,

                                  22   2022. The hearing remains scheduled for August 24, 2022.

                                  23          IT IS SO ORDERED.

                                  24   Dated: July 8, 2022

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                                                                                                    William H. Orrick
                                  27                                                                United States District Judge
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